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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


In re:                                                      Case No: 14-33660
Louis Butler
Artie Mae Butler                                            Chapter 13

       Debtors                                              Judge Humphrey


                        MOTION FOR MODIFICATION OF PLAN

If you, or your attorney, do not take these steps, the Court may decide that you do not oppose the
relief sought in the Motion and may enter an Order granting that relief without further hearing or
notice.

 The debtors move to modify the plan. A plan has been confirmed.

 Date petition filed: 10/14/2014     Date of last modification: n/a

 Date plan confirmed: 01/02/2015 Date last modification confirmed: n/a

     Monthly Plan Payments: Current: $847 .00        Proposed: $755.00

    If the plan changes the monthly payments, amended Schedules I and J are attached.

 Percent to Unsecured Creditors: Current: 1%         Proposed: 0%

 Length of Plan (months):    Current: 60             Proposed: 60

 Proposed Effective Date: when approved

 Reason for the modification, including any changes in circumstances since last plan:

       Debtors’ budget is strained and Debtors are facing a potential loss of income in the near
       future. Wage earner is 70 and continued employment at the current level is not possible.

 Counsel may make separate application for additional attorney fees as provided by LBR 2016-1.
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                                                    Respectfully Submitted,



                                                    /s/ Richard E. West, Esq.
                                                    Richard E. West, Esq.
                                                    Attorney for Debtor
                                                    Ohio Bar No. 0033319
                                                    rew@debtfreeohio.com
                                                    195 East Central Avenue
                                                    Springboro, Ohio 45066
                                                    Phone: 937-748-1749
                                                    Fax: 937-748-9552

                                            NOTICE

The above-captioned Debtor has filed papers with the Court to modify the plan.

Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you do not want the Court to grant the relief sought in the Motion, then on or before twenty-
one (21) days from the date set forth in the CERTIFICATE OF SERVICE for the Motion,
you must file with the Court a Response explaining your position by mailing your Response by
regular U.S. Mail to: U.S. Bankruptcy Court, 120 West Third Street, Suite 100, Dayton,
Ohio 45402. Alternatively, your attorney must file a response using the court’s ECF System.

The court must receive your Response on or before the above deadline.

You must also send a copy of your response either by 1) the court’s ECF System or by 2) regular
U.S. Mail to:

U.S. Trustee, 170 North High Street, Suite 200, Columbus, Ohio 45202
Jeffrey Kellner, Chapter 13 Trustee, 131 North Ludlow Street, Suite 900, Dayton, Ohio 45402
Richard E. West, 195 East Central Avenue, Springboro, Ohio 45066
Louis Darnel and Artie Mae Butler, Post Office Box 3624, Dayton OH 45401


       If you, or your attorney, do not take these steps, the Court may decide that you do not
oppose the relief sought in the Motion and may enter an Order granting that relief without further
hearing or notice.
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                                CERTIFICATE OF SERVICE

    The undersigned hereby certifies that on December 14, 2015 a copy of the forgoing
MOTION FOR MODIFICATION OF PLAN was served upon the following registered ECF
participants, electronically through the Court’s ECF System at the email address registered with
the Court:

      Asst US Trustee (Day) USTPRegion09.CB.ECF@usdoj.gov
      Adam Bradley Hall amps@manleydeas.com
      Jeffrey M Kellner ecfclerk@dayton13.com, onelook@dayton13.com
      Raymond J Pikna rjpikna@woodlamping.com, jlhamilton@woodlamping.com

and on the following by ordinary U.S. Mail addressed to:

Louis Darnel and Artie Mae
Post Office Box 3624
Dayton OH 45401

All Creditors on the attached Creditor Matrix.



                                                    /s/ Richard E. West, Esq.
                                                    Richard E. West, Esq.
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Label Matrix for local noticing           Capital One Auto FinancePage 4 of 11
                                              Document                                   Emergency Professional Services, Inc
0648-3                                    c/o Ascension Capital Group                    PO Box 1109
Case 3:14-bk-33660                        PO Box 201347                                  Minneapolis, MN 55440-1109
Southern District of Ohio                 Arlington, TX 76006-1347
Dayton
Thu Dec 10 09:14:36 EST 2015
Ohio Department of Taxation               AT & T U Verse                                 Acs/dept Of Ed
150 East Gay Street, 21st Floor           PO Box 6414                                    C/o Acs
Columbus, OH 43215-3191                   Carol Stream, IL 60197-6414                    Utica, NY 13501



Alliance One                              American General Financial/Springleaf Fi       American InfoSource LP as agent for
Attn: Bankruptcy                          Springleaf Financial/Attn: Bankruptcy De       DIRECTV LLC
Po Box 2449                               Po Box 3252                                    PO Box 51178
Gig Harbor, WA 98335-4449                 Evansville, IN 47731-3252                      Los Angeles CA 900515478


American InfoSource LP as agent for       Asst US Trustee (Day)                          Cap One
T MobileTMobile USA Inc                   Office of the US Trustee                       Po Box 30253
PO Box 248848                             170 North High Street                          Salt Lake City, UT 84130-0253
Oklahoma City OK 731248848                Suite 200
                                          Columbus, OH 43215-2417

Capital 1 Bank                            Capital One Auto Finance                       Capital One Auto Finance, c/o Ascension Capi
Attn: General Correspondence              3905 N Dallas Pkwy                             P.O. Box 201347
Po Box 30285                              Plano, TX 75093-7892                           Arlington, TX 76006-1347
Salt Lake City, UT 84130-0285


Ccrservices                               Ccs/first Savings Bank                         Chase
P O Box 32299                             500 East 60th St N                             Po Box 24696
Columbus, OH 43232-0299                   Sioux Falls, SD 57104-0478                     Columbus, OH 43224-0696



Check Into Cash                           Check n Go                                     Checksmart
3283 West Siebenthalec Ave                4141 N Main St                                 5521 Salem Ave.
Dayton, OH 45406-1825                     Dayton, OH 45405-1622                          Dayton, OH 45426-1451



Comenity Bank/OneStopPlus.com             Comenity Bank/Roamans                          Comenity Bank/Woman Within
Attention: Bankruptcy                     Attn: Bankruptcy                               Attention: Bankruptcy
Po Box 182686                             P.O. Box 182686                                Po Box 182686
Columbus, OH 43218-2686                   Columbus, OH 43218-2686                        Columbus, OH 43218-2686


Comenity Bank/jssclndn                    Consumer Portfolio Svc                         Credit One Bank
Po Box 182789                             Attn:Bankruptcy                                Po Box 98873
Columbus, OH 43218-2789                   19500 Jamboree Rd                              Las Vegas, NV 89193-8873
                                          Irvine, CA 92612-2401


(p)INTERNAL REVENUE SERVICE               (p)DIRECTV LLC                                 EMERGENCY PROF SVCS, INC.
CENTRALIZED INSOLVENCY OPERATIONS         ATTN BANKRUPTCIES                              PO Box 1109
PO BOX 7346                               PO BOX 6550                                    Minneapolis MN 55440-1109
PHILADELPHIA PA 19101-7346                GREENWOOD VILLAGE CO 80155-6550
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Emergency Prof Services, Inc.                      Equifax
                                                       Document           Page 5 of 11           Experian
Billing Center                                     Dispute Resolution Dept                       Legal Department Supervisor
PO Box 740021                                      PO Box 740241                                 PO Box 2002
Cincinnati, OH 45274-0021                          Atlanta, GA 30374-0241                        Allen, TX 75013-2002


FNCC/Legacy Visa                                   Fed Loan Serv                                 Fed Loan Serv
Attn: Bankruptcy                                   Po Box 60610                                  Po Box 69184
Po Box 5097                                        Harrisburg, PA 17106-0610                     Harrisburg, PA 17106-9184
Sioux Falls, SD 57117-5097


First Premier Bank                                 Fsb Blaze                                     GLOBAL PAYMENTS INC
3820 N Louise Ave                                  500 E. 60th Street                            PO BOX 661158
Sioux Falls, SD 57107-0145                         Sioux Falls, SD 57104-0478                    CHICAGO IL 60666-1158



GRANITE STATE MANAGEMENT & RESOURCES               Global Payment Check                          Gm Financial
THE DEPARMENT OF EDUCATION                         PO Box 661158                                 Po Box 181145
PO BOX 3420                                        Chicago, IL 60666-1158                        Arlington, TX 76096-1145
CONCORD NH 03302-3420


Greater Cincinnati Credit Union                    JP Morgan Chase Bank                          (p)JEFFERSON CAPITAL SYSTEMS LLC
2721 Central Pkwy                                  Attn: Bankruptcy                              PO BOX 7999
Cincinnati, OH 45225-2350                          Po Box 15298                                  SAINT CLOUD MN 56302-7999
                                                   Wilmington, DE 19850-5298


LVNV Funding, LLC its successors and assigns       Locate Services LLC                           NCP Finance Ohio LLC
assignee of FNBM, LLC                              PO Box 307167                                 205 Sugar Camp Circle
Resurgent Capital Services                         Gahanna, OH 43230-7167                        Dept CNG
PO Box 10587                                                                                     Dayton, OH 45409-1970
Greenville, SC 29603-0587

National Auto Finance                              Ndc Ck Svc                                    Nhhelc/gsm&r
200 Renaissance Ctr                                Po Box 661158                                 Po Box 3420
Detroit, MI 48243-1300                             Chicago, IL 60666-1158                        Concord, NH 03302-3420



Ohio Department of Taxation                        Ohio Income Tax                               (p)PORTFOLIO RECOVERY ASSOCIATES LLC
Bankruptcy Division                                PO Box 182131                                 PO BOX 41067
P.O. Box 530                                       Columbus, OH 43218-2131                       NORFOLK VA 23541-1067
Columbus, OH 43216-0530


Premier Bankcard/Charter                           Premier Health                                Premier Health
P.O. Box 2208                                      Good Samaritan Hospital                       Miami Valley Hospital
Vacaville, CA 95696-8208                           PO Bo 183132                                  PO Box 932715
                                                   Columbus, OH 43218-3132                       Cleveland, OH 44193-0015


Quantum3 Group LLC as agent for                    Receivables Performanc                        Security Nat Auto Acce
Comenity Bank                                      20816 44th Ave Wes                            6951 Cintas Blvd
PO Box 788                                         Lynnwood, WA 98036-7744                       Mason, OH 45040-8923
Kirkland, WA 98083-0788
               Case 3:14-bk-33660            Doc 24       Filed 12/14/15           Entered 12/14/15 16:04:33            Desc Main
Social Security Administration                       (p)SPRINGLEAF
                                                         Document  FINANCIALPage
                                                                              SERVICES6 of 11             TD BANK USA, N.A.
Great Lakes Program Service Center                   P O BOX 3251                                         C O WEINSTEIN AND RILEY, PS
600 West Madison                                     EVANSVILLE IN 47731-3251                             2001 WESTERN AVENUE, STE 400
Chicago, IL 60661-2406                                                                                    SEATTLE, WA 98121-3132


Td Bank Usa/targetcred                               The Ohio Bell Telephone Company                      TransUnion
3701 Wayzata Blvd                                    % AT&T Services, Inc                                 Dispute Resolution Center
Minneapolis, MN 55416-3401                           Karen Cavagnaro, Paralegal                           PO Box 2000
                                                     One AT&T Way, Room 3A104                             Chester, PA 19016-2000
                                                     Bedminster, NJ 07921-2693

U.S. Department of Education                         US ATTORNEY OFFICE                                   Us Dept Of Education
C/O FedLoan Servicing                                200 W SECOND ST #602                                 Attn: Bankruptcy
P.O. Box 69184                                       DAYTON OH 45402-1480                                 Po Box 16448
Harrisburg PA 17106-9184                                                                                  Saint Paul, MN 55116-0448


Wells Fargo Bank, N.A.                               (p)WELLS FARGO BANK NA                               World Financial Network National Bank
One Home Campus                                      WELLS FARGO HOME MORTGAGE AMERICAS SERVICING         Wfnnb
Attention: Payment Processing MAC #                  ATTN BANKRUPTCY DEPT MAC X7801-014                   Po Box 182686
Des Moines IA 50328-0001                             3476 STATEVIEW BLVD                                  Columbus, OH 43218-2686
                                                     FORT MILL SC 29715-7203

(p)WRIGHT PATT CREDIT UNION                          Artie Mae Butler                                     Jeffrey M Kellner
3560 PENTAGON BLVD                                   2374 Rustic Road                                     131 N Ludlow St
BEAVERCREEK OH 45431-1706                            Dayton, OH 45406-2136                                Suite 900
                                                                                                          Dayton, OH 45402-1161


Louis Darnel Butler                                  Richard E West
2374 Rustic Road                                     195 E Central Avenue
Dayton, OH 45406-2136                                PO Box 938
                                                     Springboro, OH 45066-0938




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Department of Treasury                               Direct TV                                            Jefferson Capital Systems
Internal Revenue Services                            PO Box 6414                                          16 Mcleland Rd
PO Box 802501                                        Carol Stream, IL 60197-6414                          Saint Cloud, MN 56303
Cincinnati, OH 45280


(d)Jefferson Capital Systems LLC                     Portfolio Recovery Associates, LLC                   Springleaf Financial
Po Box 7999                                          POB 41067                                            Po Box 3251
Saint Cloud Mn 56302-9617                            Norfolk VA 23541                                     Evansville, IN 47731



(d)Springleaf Financial Services                     Wells Fargo Hm Mortgag                               (d)Wells Fargo Home Mortgage
P.O. Box 3251                                        8480 Stagecoach Cir                                  8480 Stagecoach Cir
Evansville, IN 47731-3251                            Frederick, MD 21701                                  Frederick, MD 21701
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Wright Patterson Crdt                                    Document      Page 7 of 11
Po Box 286
Fairborn, OH 45324




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Wells Fargo Bank, N.A.                            End of Label Matrix
                                                     Mailable recipients    76
                                                     Bypassed recipients     1
                                                     Total                  77
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Fill in this information to identify your case:

Debtor 1                      Louis Darnel Butler

Debtor 2                      Artie Mae Butler
(Spouse, if filing)


United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF OHIO

Case number               3:14-bk-33660                                                                  Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                 Not employed
       employers.
                                             Occupation            Retired                                      Client Advocate
       Include part-time, seasonal, or
       self-employed work.                                                                                      St Vincent DePaul Gateway
                                             Employer's name                                                    Shelters
       Occupation may include student
       or homemaker, if it applies.          Employer's address                                                 1133 Edwin C Moses Blvd
                                                                                                                Ste 300
                                                                                                                Dayton, OH 45402

                                             How long employed there?                                                    4 yr 6 mo

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $              0.00       $         1,936.13

3.     Estimate and list monthly overtime pay.                                             3.     +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $           0.00              $   1,936.13




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1     Louis Darnel Butler
Debtor 2     Artie Mae Butler                                                                     Case number (if known)   3:14-bk-33660


                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $              0.00     $         1,936.13

5.    List all payroll deductions:
      5a.     Tax, Medicare, and Social Security deductions                                5a.     $              0.00   $             219.35
      5b.     Mandatory contributions for retirement plans                                 5b.     $              0.00   $               0.00
      5c.     Voluntary contributions for retirement plans                                 5c.     $              0.00   $               0.00
      5d.     Required repayments of retirement fund loans                                 5d.     $              0.00   $               0.00
      5e.     Insurance                                                                    5e.     $              0.00   $             329.59
      5f.     Domestic support obligations                                                 5f.     $              0.00   $               0.00
      5g.     Union dues                                                                   5g.     $              0.00   $               0.00
      5h.     Other deductions. Specify: life insurance                                    5h.+    $              0.00 + $              50.70
              dental insurance                                                                     $              0.00   $              49.92
              HSA                                                                                  $              0.00   $              43.33
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $           692.89
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $               0.00     $        1,243.24
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.     $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $             0.00      $                0.00
      8d. Unemployment compensation                                                        8d.     $             0.00      $                0.00
      8e. Social Security                                                                  8e.     $           410.00      $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify: SS income for son                                                    8f.  $              211.00   $                   0.00
      8g. Pension or retirement income                                                     8g. $             1,356.19   $                   0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                   0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,977.19      $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           1,977.19 + $         1,243.24 = $            3,220.43
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $           3,220.43
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtors anticipate no changes in income over next 12 months.




Official Form 106I                                                    Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                 Louis Darnel Butler                                                                Check if this is:
                                                                                                                An amended filing
Debtor 2                 Artie Mae Butler                                                                            A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF OHIO                                                  MM / DD / YYYY

Case number           3:14-bk-33660
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  16                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                              800.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                                 0.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
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Debtor 1     Louis Darnel Butler
Debtor 2     Artie Mae Butler                                                                           Case number (if known)       3:14-bk-33660

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    200.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                     50.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    143.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   450.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                    75.00
10.   Personal care products and services                                                   10. $                                                     40.00
11.   Medical and dental expenses                                                           11. $                                                     72.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                      0.00
14.   Charitable contributions and religious donations                                      14. $                                                    300.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    135.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       2,465.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       2,465.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               3,220.43
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              2,465.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                  755.43

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Debtors anticipate a monthly rental expense due to surrendering real estate. This estimated
                          amount is listed on line 4 of this schedule.




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